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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

STEARNS BANK, N.A.,
Garnishor

       vs.                                      CIVIL ACTION NO.

RIO BANK, FALCON BANCSHARES,
INC., FIDELITY INVESTMENTS, LONE
STAR NATIONAL BANK, IBC BANK
A/K/A INTERNATIONAL
BANCSHARES CORPORATION and
TEXAS REGIONAL BANK,
Garnishees


                           AFFIDAVIT OF RICK A.ZUNIGA


STATE OF TEXAS

COUNTY OF HIDALGO          §


BEFORE ME, the undersigned authority, on this day personally appeared Rick A.
Zuniga, known to me, who having been duly sworn, deposes and states the following:

1.     My name is Rick A. Zuniga. I am over the age of 18 years and am competent to
       make this Affidavit. I have never been convicted of a felony or a misdemeanor
       involving moral turpitude. I have personal knowledge of the facts stated below,
       and such facts are true and correct.

2.     I am an attorney for Stearns Bank, N.A. in this garnishment action.

3.     On June 7, 2021, in United States District Court for the Southern District of
       Texas, McAllen Division, in a cause numbered 7:21-cv-00091, and styled
       Renryder, LLC, et al v. Stearns Bank„ LLC, Garnishor recovered a judgment
      (the "Judgment") against Judgment Debtors for the sum of:

          a. The sum of One Million One Hundred Forty-Five Thousand Forty-Four and
             60/100ths($1,145,044.60) as of April 6, 2021;
          b. Pre and Post Judgment interest of $173.53 per day from April 6, 2021 until
             paid; and
                                     Exhibit B
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                c. Reasonable and necessary attorneys'fees and expenses in the amount of
                   $6,000.00 for the prosecution of this case through this judgment.

    4.      The judgment remains unsatisfied.

    5.      I have personal knowledge of the facts as stated in the Garnishor's Application
            for Writ of Garnishment After Judgment and they are true and correct."

    FURTHER AFFIANT SAYETH NOT.




            SWORN TO and subscribed before me on this            day of September, 2021.




                                             Nota   Public, a       e State of Texas


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              s     Notary Public
 •                STATE OF TEXAS
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    Affidavit of Rick A. Zuniga — Page 2
